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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

ZURICH AMERICAN              )
INSURANCE COMPANY,           )
                             )
              Plaintiff,     )
                             )
v.                           )
                             )                      Case No.: 1:22-cv-04377-JPB
PATRIOT MODULAR, LLC and     )
ELDECO PIPE AND FABRICATION, )
LLC,                         )
                             )
              Defendants.    )
                             )

                    MOTION FOR SERVICE BY PUBLICATION

        COMES NOW Zurich American Insurance Company (“Zurich”), Plaintiff

herein, and, pursuant to Fed. R. Civ. P. 4(h)(1)(a) and (e)(1), files its motion to serve

Defendant Patriot Modular, LLC by publication.

        Cypress relies upon its Memorandum In Support of Motion for Service by

Publication, and attached exhibits in support of its motion.

                          [Signature on the following page]




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        Respectfully submitted this 3rd day of March, 2023.

                                              /s/ Kenan G. Loomis
                                              Kenan G. Loomis
                                              Georgia Bar No. 457865
                                              Luciana Aquino
                                              Georgia Bar No. 114433
                                              COZEN O’CONNOR
                                              1230 Peachtree Street NE
                                              The Promenade, Suite 400
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                                                       laquino@cozen.com

                                              Attorneys for Plaintiff Zurich
                                              American Insurance Company




CERTIFICATION: The above-signed counsel hereby certifies that this document
was prepared in Times New Roman 14-point font with a 1.5 inch top margin in
accordance with LR 5.1B, N.D. Ga.




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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

ZURICH AMERICAN              )
INSURANCE COMPANY,           )
                             )
              Plaintiff,     )
                             )
v.                           )
                             )                     Case No.: 1:22-cv-04377-JPB
PATRIOT MODULAR, LLC and     )
ELDECO PIPE AND FABRICATION, )
LLC,                         )
                             )
              Defendants.    )
                             )

                            CERTIFICATE OF SERVICE

        I hereby certify that on the 3rd day of March, 2023, I electronically filed the

foregoing          MOTION   FOR    SERVICE        BY    PUBLICATION          AS    TO

DEFENDANT PATRIOT MODULAR, LLC with the Clerk of the Court using

the CM/ECF system. I further hereby certify that I have also served a copy of the

foregoing via U.S. Mail on Defendants Eldeco and Patriot as follows:

                               Eldeco Pipe and Fabrication, LLC
                               c/o Allen McKinney
                               5751 Augusta Road
                               Greenville, SC 29605

                               Patriot Modular, LLC
                               c/o Justin Kreft
                               120 Bearle Street
                               Pasadena, TX 77506



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        This 3rd day of March, 2023.

                                        /s/ Kenan Loomis
                                        Kenan G. Loomis




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